                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

UNITED STATES OF AMERICA                      §
                                              §
v.                                            §       EP-20-CR-0389-DCG
                                              §
PATRICK WOOD CRUSIUS.                         §

                    DEFENDANT’S MOTION FOR REARRAIGNMENT

       Comes now, Defendant Patrick Wood Crusius, by and through his attorneys, and

respectfully moves the Court to set the instant case for a Rearraignment Hearing at the Court’s

convenience; Defendant notifies the Court of his intention to enter a plea of guilty to the pending

Indictment.

       WHEREFORE, premises considered, Defendant respectfully requests that the Court grant

the instant motion and set the instant case for a Rearraignment Hearing. Defendant also prays for

all other relief to which he may be entitled in both equity and law.
Respectfully submitted,

/s/ Joe A. Spencer
JOE A. SPENCER
1009 Montana
El Paso, Texas 79902
(915) 532-5562
joe@joespencerlaw.com
State Bar of Texas No. 18921800

REBECCA L. HUDSMITH
LA Bar No. 7052
Office of the Federal Public Defender for
the Middle and Western Districts of
Louisiana
102 Versailles Blvd., Suite 816
Lafayette, LA 70501
(337) 262-6336
Facsimile: (337) 262-6605
Rebecca_hudsmith@fd.org

MARK STEVENS
310 S. St. Mary’s Street
Tower Life Building, Suite 1920
San Antonio, TX 78205
(210) 226-1433
State Bar No. 1918420
mark@markstevenslaw.com

FELIX VALENZUELA
701 Magoffin Avenue
El Paso, Texas 79901
(915) 209-2719
State Bar No. 24076745
felix@valenzuela-law.com

Attorneys for Patrick Crusius
                                 CERTIFICATE OF SERVICE

       I hereby certify that, on January 21, 2023, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send notice to the following parties.

       AUSA Ian Hanna at ian.hanna@usdoj.gov
       AUSA Greg McDonald at gregory.mcdonald@usdoj.gov

                                                      /s/ Felix Valenzuela
                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §   EP-20-CR-0389-DCG
                                             §
PATRICK WOOD CRUSIUS.                        §

               ORDER GRANTING MOTION FOR REARRAIGNMENT

       On this day, the Court considered Defendant Patrick Wood Crusius’ “Motion for

Rearraignment” (ECF No. ____). After due consideration, the Court is of the opinion that the

Motion should be granted.

       Accordingly, it is therefore ORDERED that Defendant, Patrick Wood Crusius’ “Motion

for Rearraignment” (ECF No. ____) is GRANTED.

       It is further ORDERED that the instant case is set for Rearraignment on _____________

at _______________ AM/PM.

       SO ORDERED.

Signed on this ______ day of January 2023.



                                                 _________________________________
                                                 DAVID GUARDERRAMA
                                                 UNITED STATES DISTRICT JUDGE
